             Case:15-06238-BKT13 Doc#:140   Filed:04/18/17 Entered:04/18/17 21:05:56
                                      UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                      Desc: Main
                                       FOR THE DISTRICT Page
                                         Document            1 of 2RICO
                                                        OF PUERTO
            Rafael Ramos Santos &                                                                                   15-06238
   IN RE:                                                                                          BK. CASE #
                                                                                                                                                      BKT
            Johana Marrero Bou
                                                                                                   CHAPTER13
       E 108 Costado de Oro, Dorado 00646
  DEBTOR(S) SSN: XXX-XX-7730       SSN: XXX-XX- 9804


                                                                     CHAPTER 13 PAYMENT PLAN
                                                                                                                                 5TH FILED PLAN                   4th Amended
   NOTICE: * The following plan contains provisions which may significantly affect your rights. You should read this document carefully and discuss it with your attorney. When
   confirmed, the plan will bind the debtor and each creditor to its terms. Objections must be filed in writing with the Court and served upon the debtor(s), debtors' counsel, the
   Trustee and any other entity designated by the Court, at the 341 meeting of creditors or not less than twenty (20) days prior to the scheduled confirmation hearing. For post
   confirmation Plan Modifications, objections must be filed and notified in the same manner within twenty (20) days from its notification. * See the notice of
   commencement of case for 341 meeting date and claims bar date, the latter is the date by which a proof of claim must be filed in order to participate of the plan distribution.

       1. The future earnings of the Debtor(s) are submitted to the supervision and control of the Trustee and the Debtor(s) shall make payments to the Trustee:
              directly      by payroll deductions, as hereinafter provided in the PAYMENT PLAN SCHEDULE.
       2. The Trustee shall distribute the funds so received as hereinafter provided in the DISBURSEMENT SCHEDULE.
       3. The Confirmation Order will not vest property of the Estate on Debtor(s) until the Order discharging Debtor(s) is entered.

    PLAN DATED:                                                                                          AMENDED PLAN DATED:            4/18/2017
       PRE      POST-CONFIRMATION                                                                          FILED BY       DEBTOR          TRUSTEE                UNSECURED CREDITOR
                  I. PAYMENT PLAN SCHEDULE                                 II. DISBURSEMENT MADE IN THE FOLLOWING ORDER AND AFTER ADMINISTRATIVE EXPENSES

                 675.00         24                    16,200.00            A . SECURED CLAIMS:              Debtor represents that there are no secured claims.
   $                      x             =$                                                                  Secured creditors will retain their liens and shall be paid as follows:
   $             775.00   x     12      =$             9,300.00       1.          ADEQUATE PROTECTION Payments: Cr.                 Baxter CU                     $               100.00
   $             975.00   x     24                    23,400.00
                                        =$                            2.         Trustee will pay secured ARREARS:
   $                      x             =$                                       Cr. BPPR/Wells F clm #6              Cr. BPPR      clm #7                 Cr.    BPPR clm #5
   $                      x             =$                                        Acct.      6747                      Acct.            4450        Acct.                    4761
                                                                                 $                    0.00            $                     1,134.29 $                                 245.00
   $                      x             =$
   $                      x             =$                                       Cr.                                  Cr.                                 Cr.
                          x                                                       Acct.                                Acct.                             Acct.
   $                                    =$
                                                                                 $                                    $                                    $
                 TOTAL =        60           $        48,900.00       3.       • Trustee will pay REGULAR MONTHLY PAYMENTS:
   Additional Payments:
                   12,600.00 to be paid as a LUMP SUM                            Cr.                                  Cr.                                Cr.
   $                                                                             Acct.                                Acct.                               Acct.
   within 40 months as of date of Plan WITH PROCEEDS TO COME FROM                Monthly Pymt.$                       Monthly Pymt.$                     Monthly Pymt.$
         Sale of property identified as follows:                      4.        Trustee will pay IN FULL Secured Claims:
    1984 Mazda plus + LS will be amortized thru partial                         Cr.                             Cr.                                       Cr.
   installments thru out 40 remaining months of Plan                             $                               $                                        $
                                                                      5.         Trustee will pay VALUE OF COLLATERAL:
           Increase in productivity & profits from
        Other:                                                                   Cr. Baxter CU #0100            Cr. As per             Agreement          Cr.    See page 2
   RRS Elect as D husband continues to recover                                     $                  10,000.00 $                                          $
   from work accident
                                                                      6.         Secured Creditor's interest will be insured. INSURANCE POLICY will be paid through plan:
   Periodic Payments to be made other than and in addition to                    Cr.                               Ins. Co.                     Premium: $
   the above.                                                                             (Please indicate in ''Other Provisions'' the insurance coverage period)
   $                   x          =$                                                                                                             If any to Coop/Asoc/Bank
                                                                      7.         Debtor SURRENDERS COLLATERAL TO Lien Holder:
   To be made on: LS maybe amortized in partial amts w/n 40 mos
                                                                      8.         Debtor will maintain REGULAR PAYMENTS DIRECTLY to:

       PROPOSED PLAN BASE: $                       61,500.00               Mortg creditors as of 8/2015 / BPPR/Wells Fargo #6747 Ds agree to Lof Stay but will continue efforts to modify
                                                                           B. PRIORITIES. The Trustee will pay §507priorities in accordance with the law [§1322 (a)(2)].
                    II. ATTORNEY'S FEES                                          Treasury/IRS/Muncp Dorado, Treasury & DSO as per claims
   To be treated as a § 507 Priority, and paid before any                  C . UNSECURED PREFERRED: Plan              Classifies       Does not Classify Claims.
   other creditor and concurrently with the Trustee's fees,
   unless otherwise provided:                                                     Class A-        Co-debtor Claims:         Pay 100% /        ''Pay Ahead''.
                                                      5,000.00                    Class B-        Other Class:
   a. Rule 2016(b) Statement:            $
                                                                                     Cr.                                   Cr.                                        Cr.
   b. Fees Paid (Pre-Petition): ($                    5,000.00 )                     $                                     $                                      $
   c. R 2016 Outstanding balance: $                       0.00             D . GENERAL UNSECURED NOT PREFERRED: (Case Liquidation Value = $                                                 )
   d. Post Petition Additional Fees: $       10,000.00                            Will be paid 100% plus         % Legal Interest         Will be paid Pro-Rata from any remaining funds

   e. Total Compensation:                $          15,000.00              OTHER PROVISIONS:          See page 2 of Plan Your rights & claim may be affected or modified.

A/F @ $275 p/hr                                                       ..
   Signed: /s/ Rafael     Ramos Santos
           DEBTOR
            /s/ Johana Marrero Bou
            JOINT DEBTOR
          /s/ L.A. Morales
             BY: ATTORNEY

  ATTORNEY FOR DEBTOR~ Lissette Morales-Vidal                        Urb. Villa Blanca, #76 Aquamarina, Caguas, PR 00725-1908                                   Phone: 787-746-2434
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ATTACHMENT TO PLAN               Document Page 2 of 2

     IN RE:
                                                                               BK CASE #    15-06238                      BKT
     Rafael Ramos Santos &
     Johana Marrero Bou                                                        CHAPTER 13
                               DEBTOR(S)



    PLAN DATED:                                                           AMENDED PLAN DATED: 4/18/17

 Notes
 8B. IRS #2-2 $1,182.48; Treasury #13-1 $4,379.94; DSO #12 $3,240 & Municiplaity Dorado #11 $782.28 as filed.

  9. As per agreement w/ Baxter, debtors shall pay BCU [#0100] $10,000 value of its collateral: 2007 BMW 525i Sedan 4D
 ADQ PROTECTION payments to be made & credited to Baxter secured portion of claim. TERMS of PAYMENT: $607.50 monthly x
 16.46 months in EMP, if required [or sooner if not EMP] by creditor of secured portion of its claim & in 2nd Rank after payment of
 Adm Claim Atty Fees.

 Upon satisfactory completion [discharge] of Plan, BCU will surrender Title to collateral to debtors pursuant to §1325(a)(5)(B)(i)(I)(bb).
 Security agreement expires in 10/2018 & vehicle is insured w/ double interest insurance until such date & will remain so until payment
 of these amounts to BCU, or directly through private insurance coverage if payout is delayed until after this date.
 10. Atty Fees [A/F] have been agreed at $275 p/hour. Upon FAVORABLE recommendation &/or conclusion of any contested matter,
 Counsel for Debtors will file a Fee Application within 14 days of either of these 2 events or confirmation, whichever is earlier.
 Pre-petition retainer/deposit has been fully consumed.

 11. ORDER OF PAYMENT: Trustee will pay allowed claims in the following order:
 a) Trustee [adm fees] & Debtor's Attorney Fees [adm/priority fees] to extent available w/n Plan's confirmed base upon approval by this
 Court. At this writing counsel estimates A/F in excess of $10,000 but accepts to limit payout under Plan to $10,000 or to extent of
 available funds under Plan.
 b) Adequate Protection payments to BAXTER CREDIT UNION
 c) Vehicle creditor at ¶5 in EMP if required by creditor
 d) Priorities as described @ ¶8B
 e) Payment to Secured claims to BPPR &/or arrearage as per ¶2 of Plan
 f) Unsecured at per ¶8D
 12. Tax refunds, if any, [none expected] in excess of $1,200 will be devoted ea. yr. to fund lump sum now proposed of $12,600 until
 plan's completion. If tax refunds are rec'd & needed for use by debtor of a portion of refund, debtor will seek Court's authorization prior
 to use of funds.

 13. Ds consent to relief from stay in favor of Wells Fargo/BPPR [clm #6-1] for IN REM purposes only. Ds nonetheless intend to pursue
 negotiations w/ WF for mortgage loan modification, already requested & approved for BPPR prior holder, subject to notice & approval
 of Court, if & when agreement reached.

 14. Confirmation of this plan constitutes a finding that debtor has timely complied w/ 11 U.S.C. §521, that plan & case have been filed
 in good faith as per §1325(a)(3) & plan provides all DI as per §1325((b)(1)(B) & (2)(A) & (B)
 15. Property of the ESTATE shall REVEST in the debtor(s) upon confirmation of plan.




                                /s/ Lissette Morales Vidal
                                LISSETTE MORALES VIDAL                                   Phone:   (787) 746-2434
  ATTORNEY FOR DEBTOR:

  URB VILLA BLANCA #76, AQUAMARINA, CAGUAS, PR 00725-1908
